             Case 1:20-cr-00558-GBD Document 6 Filed 11/05/20 Page 1 of 1

                                                                                               March 31, 2020


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
UNITED STATES OF AMERICA,                                                     CONSENT TO PROCEED BY
                                                                              VIDEOCONFERENCE
                             -v-
                                                                                  -CR-         (   )(   )
Ernest Hemphill                    ,
                                       Defendant(s).                           20cr558 (GBD)
-----------------------------------------------------------------X

            Ernest Hemphill
Defendant ______________________________________          hereby voluntarily consents to
participate in the following proceeding via videoconferencing:

___      Initial Appearance/Appointment of Counsel
x
___      Arraignment (If on Felony Information, Defendant Must Sign Separate Waiver of
         Indictment Form)

___      Preliminary Hearing on Felony Complaint

___      Bail/Revocation/Detention Hearing

___      Status and/or Scheduling Conference

___      Misdemeanor Plea/Trial/Sentence



    /s/ Ernest Hemphill                                                   /s/ Avraham Moskowitz
_______________________________                                      _________________________________
Defendant’s Signature                                                Defense Counsel’s Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)
Ernest Hemphill
_____________________________                                        Avraham Moskowitz
                                                                     _________________________________
Print Defendant’s Name                                               Print Defense Counsel’s Name


This proceeding was conducted by reliable videoconferencing technology.


  11/5/2020
___________________                                                  _________________________________
Date                                                                 U.S. Magistrate Judge
